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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                      MONROE DIVISION

 UNITED STATES OF AMERICA                         *     CRIMINAL NUMBER 14-0065-01


 VERSUS                                           *     JUDGE ROBERT G. JAMES


 ALDO CANTU                                       *     MAG. JUDGE KAREN L. HAYES

                 REPORT AND RECOMMENDATION ON
  FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

       Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

consent of the defendant, this matter has been referred by the District Court for administration of

Guilty Plea, and Allocution under Rule 11 of the Federal Rules of Criminal Procedure.

       This cause came before the undersigned U. S. Magistrate Judge for a change of plea

hearing and allocution of the defendant Aldo Cantu on August 5, 2014. Defendant was present

with his counsel, Ms. Betty Marak.

       After said hearing, it is the finding of the undersigned that the defendant is fully

competent, that his plea of guilty is knowing and voluntary, and his guilty plea to Counts 2 & 4

of the Indictment is fully supported by an oral factual basis for each of the essential elements of

the offenses. Therefore,

       IT IS RECOMMENDED that the District Court ACCEPT the guilty plea of the

defendant Aldo Cantu in accordance with the terms of the plea agreement filed in the record of

these proceedings, and that Aldo Cantu be finally adjudged guilty of the offenses charged in

Counts 2 & 4 of the Indictment.

       IT IS FURTHER RECOMMENDED that the District Court ACCEPT Defendant’s
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agreement to forfeit and abandon his interest in the firearm(s) and property described in the

Indictment.

        Under the provisions of 28 U.S.C. § 636(b)(1)(C) and F.R.C.P. Rule 72(b), the parties

have fourteen (14) days from service of this Report and Recommendation to file specific,

written objections with the Clerk of Court. A party may respond to another party’s objections

within fourteen (14) days after being served with a copy thereof. A courtesy copy of any

objection or response or request for extension of time shall be furnished to the District Judge at

the time of filing. Timely objections will be considered by the District Judge before he makes a

final ruling.

        A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS

REPORT WITHIN FOURTEEN (14) DAYS FROM THE DATE OF ITS SERVICE

SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR,

FROM ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL

FINDINGS AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

        In Chambers, at Monroe, Louisiana, this 5th day of August 2014.



                                                      __________________________________
                                                      KAREN L. HAYES
                                                      UNITED STATES MAGISTRATE JUDGE




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